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         EXHIBIT C TO SPITZER
            DECLARATION
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A labam a            1837,1839,                                                    1805                1873                        1839, 1841
                     1841,1867,
                     1876,1877,
                     1879,1892
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A laska                                                                                                1896-99                     1896                   1896
A rizona             1867,1889,                                                                        1873, 1889                  1889                   1867
                     1901                                                                              1893, 1901                                     i




Arkansas             1871, 1875                                                    1835                1871                        1820, 1837
California           1855, 1896               1849,        1917, 1923                                  1864, 1923    1917, 1923    1 8 5 0 ,1 8 6 4       1849
                                              1853, 1876
                                                                                                       9881
Colorado             1862,1867,               1876                                                                                 1862                   1862
                     1877, 1881
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C onnecticut                                                                                           1890                        1 8 9 0 ,1 9 2 3
D elaw are                                                                         1797                                            1852
D istrict o f        1858,1871,                                                                        1871                        1857, 1871
C olum bia           1892
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Florida                                                                                                1868, 1888                  1887
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In addition to state laws, this chart provides the year of enactment of local ordinances adopted within the states.
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                                                                                            0981
G eorgia          1837,1860,         1816                                                                                    1837
                  1873
H aw aii          1852, 1913                                                                1852, 1913                       1913
                                                                                                                             6061
Idaho             1864*1875,         1875                                                   1879                                                  1864
                  1879, 1909
Illinois          1 8 7 6 ,1 8 8 1                                                          1 8 8 1 ,1 8 9 3




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                                     1845
                                                                       1 8 0 4 ,1 8 5 5 ,




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Indiana           1859                                                                      1875, 1905                                            1831
                                                                       1 8 8 1 ,1 9 0 5
Iow a             1882,1887,                      1882                                      1882               1887, 1900    1 8 8 2 ,1 8 8 7 ,
                  1900                                                                                                       1 8 9 7 ,1 9 2 9
Kansas            1862,1863                       1862, 1887                                1883, 1887,                      1901
                  1868,1883,                                                                1899
                  1887
K entucky         1859                                                 1798                 1859                             1 8 1 2 ,1 8 1 3
Louisiana         1870                                                                                                       1813                 1813, 1842,
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M aine                                                                 1786                                                  1840                 1841
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M aryland         1872,1886,         1809,        1872, 1874                                1886                             1872
                  1888, 1890         1874,        1884, 1886
                                     1886         1890, 1927
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M assachusetts                                                         1750                 1 8 5 0 ,1 9 2 7                 1751
M ichigan         1891               1927, 1929   1 8 8 7 ,1 8 9 1 ,   1913                 1887, 1891,        1887, 1891,   1887
                                                  1927, 1929                                1929               1927, 1929
                                                                                            1 8 8 2 ,1 8 8 8




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                                                                                                               OO
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M innesota        1882                                                                                                       1881                 1882
M ississippi      1837,1838,                                           1 7 9 9 ,1 8 0 4     1878                             1838,1878
                  1878
M issouri         1871,1897,                      1871, 1897,          1818,1923            1883, 1888,                      1873
                  1917, 1923                      1923                                      1897, 1917
                  1864,1879,                                                                                                 1 8 6 4 ,1 8 6 5




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M ontana                             1887
                  1885
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N ebraska         1877,1890,         1858         1 8 7 2 ,1 8 9 0 ,                                                         1881
                  1899                            1899
                Case 2:23-cv-01130-GRB-ARL Document 21-7 Filed 04/21/23 Page 4 of 5 PageID #: 326




N evada            1873          1872                              1881                               1881, 1925
N ew
Ham pshire




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N ew Jersey




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                            in
                                 1799,        1871, 1927           1871, 1873,          1871, 1927    1686
                                 1877, 1927                        1927
N ew M exico       1852*1853,    1887                              1853, 1859,                        1852, 1853
                   1859,1864                                       1869, 1887
                   1887
                                                                   9981
N e w York
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                                 1911,        1866, 1881,   1664                        1866, 1881,   1891
                                 1913, 1931   1884, 1885,                               1900, 1911,
                                              1900, 1911,                               1913, 1931
                                              1913, 1931
N orth Carolina    1840,1856,                                      1879                               1792, 1840
                   1858,1860,
                   1879
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N orth Dakota                    1915         1915                 1895                 1915          1895
O hio              1859,1880,                                                                         1859         1 7 8 8 ,1 8 5 9 ,
                   1890                                                                                            1880
O klahom a         1890,1891,                 1890, 1891           1890, 1891,          1890          1890
                   1903                                            1903
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O regon                                       1898, 1917           1 8 8 5 ,1 9 1 7     1917          1853
P ennsylvania      1897                       1897                 1851                               1851
R hode Island      1893,1896,                 1893, 1908           1893, 1896                         1893
                   1908



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South Carolina     1880, 1923
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South D akota                                                      1877, 1903                         1877
T ennessee         1838,1856,                                      1879, 1882,                        1821
                   1863,1867,                                      1893
                   1871,1881,
                   1893
                                                            6681
Texas              1856,1871,                                      1871, 1879,                        1870
                   1879,1897                                       1 8 8 9 ,1 8 9 7 ,
                                                                   1899
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 Utah                   1877                                                                                                                                      1877, 1888




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 V irginia




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                        1838,1887                                                                      1792                                                       1794
 W ashington            1854, 1859                                                                                                                                1881         1 8 5 4 ,1 8 5 9 ,
                        1869                                                                                                                                                   1 8 6 9 ,1 8 8 1 ,
                                                                                                                                                                               1 8 8 3 ,1 8 9 2 ,
                                                                                                                                                                               1896, 1897
 W est V irginia        1870,1882,                                        1870, 1882,                                          1891                               1870
                        1891, 1925                                        1891, 1925
 W isconsin             1883, 1896




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 W yom ing              1884,1890                1876, 1893                                                                    1884, 1890,                        1876
                        1899,1925                                                                                              1899
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